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     SalesTraq America, LLC
10

11                                UNITED STATES DISTRICT COURT
12                                       DISTRICT OF NEVADA
13   SALESTRAQ AMERICA, LLC, a Nevada                     Case No.: 08-CV-1368-LRH-LRL
     limited-liability company,
14                                                        STIPULATION AND ORDER
15
                    Plaintiff,
16
     v.
17

18   JOSEPH A. ZYSKOWSKI, an individual;
     DEVMARKETING, INC., a Nevada
19   corporation,
20

21                  Defendants.
22          Pursuant to Rule 16(b)(4) of the Federal Rules of Civil Procedure and the Local Rules of
23   the District of Nevada, SALESTRAQ AMERICA, LLC, and Defendants, JOSEPH A.
24   ZYSKOWSKI and DEVMARKETING, INC., hereby stipulate and agree as follows, and
25   respectfully request that the Court issue the accompanying Order:
26          1.      Good cause appearing, that an extension of time for which to file the Joint Pre-
27   Trial Order in the present case be granted until thirty (30) days after the Court enters an Order
28   regarding Defendants’: (a) Motion for Reconsideration, and (b) Motion for Order Consolidating


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 1   Defendants’ Counterclaims with the Pending Action to make clear which claims will go forward
 2   in the present action.
 3          IT IS SO STIPULATED.
 4          Dated this 12th day of February, 2010.
 5
                                                     Submitted by:
 6
                                                     GIBSON LOWRY BURRIS LLP
 7

 8
                                                     By /s/ James P. Jensen
 9
                                                        Steven A. Gibson
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13                                                      Attorneys for Plaintiff,
                                                        SalesTraq America, LLC
14

15          Dated this 12th day of February, 2010.
16
                                                     LAW OFFICES OF JOHN R. BENEFIEL
17

18
                                                     By /s/ John R. Benefiel
19                                                      John R. Benefiel, Esq.
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21                                                      Birmingham, Michigan 48009
                                                        (248) 644-1455
22                                                      Attorneys for Defendant,
                                                        Joseph A. Zyskowski and devMarketing, Inc.
23
                                              ORDER
24
            IT IS SO ORDERED.
25
            Dated: February
                   _____________________
                            16, 2010.
26

27                                                   _____________________________________
                                                     UNITED STATES DISTRICT JUDGE
28




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